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                    SUPPLEMENTAL INDEX OF EMAILS AND OTHER
                              COMMUNICATIONS

Exhibit   Date                                    Description
  II      2/12   Emails between Adam Martinez and OPM regarding “RIF Consulting
                 Services”
  JJ      2/14   Emails between Adam Martinez and OPM regarding CFPB’s request for an
                 exception to the “90-day rule for competitive areas” (8:28am)
 KK       2/14   Status update from Adam Martinez regarding “today’s [RIF] actions and
                 notifications to staff” (12:38pm)
 LL       2/14   Email to Adam Martinez notifying him of TRO hearing in this case in
                 planning for timing of termination notices (1:39pm)
 MM       2/14   Email urgently requesting materials for RIFs from OPM (1:44pm)
 NN       2/14   Email including list of employees to be fired (2:27pm)
 OO       2/14   Email from OPM approving request for exemption from the 60-day notice
                 requirement for RIFs (3:25pm)
  PP      2/14   Email from Adam Martinez confirming that he will be included with the
                 “next group” of RIFs (4:57pm)
 QQ       2/14   Email regarding materials for RIFs (9:56pm)
 RR       2/28   Email regarding impact of contract status on resuming work
  SS       3/5   Email regarding indefinite postponement of mandatory training
 TT              Site showing that staff are not authorized to take mandatory training
 UU        3/5   Email regarding reporting on supervision examination activity
 VV        3/5   Email regarding reporting on supervision examination activity
 WW        3/6   Email regarding reporting on supervision activity and return to
                 administrative leave
 XX        3/6   Email regarding impact of contract cancellations on Office of Markets
 YY        3/7   Email regarding impact of contract cancellation and employee terminations
                 on CARD Act analysis
 ZZ        3/7   Email from head of Office of Students team indicating that they are currently
                 unable to perform required complaint-review function
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        Exhibit II
               Case 1:25-cv-00381-ABJ        Document 66-1      Filed 03/07/25    Page 3 of 60




From:                          Martinez,Adam(CFPB)
Sent:                          Wednesday,February12, 2025 6:51 PM
To:                            Gueye, Jafnar (CFPB);
Cc:
Subject:                       PN:Draftagreementfor CFPB
                                                       RIFassistance
Attachments:                   OPM HRS - RIF Consulting Services- CFPB.pdf

FollowUp Flag:                 Follow up
Flag Status:                   Flagged


FYSA- Once OPM confirms, 1'11sign the SOW.
J afnar - I went ahead and pro\-ided your name directly so you can handle with your team carefully
given the topic.

Thank you all.

Adam

Adam Martinez
Chief OperatingOfficer

From: Martinez, Adam{CFPB)
Sent: Wednesday, February 12, 2025 6:49 PM
To:'Parman,JasonC.'                          ; Wick, Jordan                      ; Young,Christopher




   Je              g

Thank you again for supporting us.

We have reviewed the agreement, and we are ready to move forward. Please let me know if we are
good to sign or if you have any additional changes on your end. I've included our POC information
belO\•v.

Finance POC:
Jafnar Gueye
 hief Financial Officer




                                                       1
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AdamMartmez
Chief Operating Officer

F.-om:Parman, Ja~n C.I
Setit: Wednesday, Febrnary12, 2025 4~16PM
To:Martlnez, Adam {CFPB)                                                                                  ; Young,
Christopher
1Cc:

Subject:Draft agreement for CFPBIRII=assistaoce
                                                                                                               -
Adam,,Jordan. a11d Chris•

Pero ur meeting, attached ptea:se•find a draft ~tatement of work (SOW}for restructuring •asslstaf,t·e sijtvl'f:1es,.Thi3
SOW 1cove1rs  the 1rangeot actiivities we may do for-yo:uthroughout ti11eproj1ect.,and the inlitijatll.Jlncm,gof$i Yi ;9i5
cover:s the activities n,ec,es:sary  lo [Provideyou Immediate planningassiistanice, dect•sion support;afl<ito piepafe
a1ndsicope tlhe rem a iniing actiivit'i1esin th1eco ming phases.

We are glad to meet ASAPto 1refineth1elanguage If needed ..lf tMs meets :y0u1rneeds, -                  (our ·fina1ndat
specialist, ,copied here) is 1readytoworkwithyourteam to ex,ecutethe agreement.

Please review and if this meets your n,eeds,,we can connect our finance team with yours to executethe agreeirnen't,
Feel free to contact me directly a-               or                    (copied here) ·wrth questions, or j 1ust rr,rpty
to this email that you are ready to go.

We look ·forward to wori<ingwith you on this critical in1itrative.

Thanks,
Jason

Jason C. Pa1rman
DeputyAssociateDirector
U.S.Office of Personnel Mana,gement
HR Strategy & EvaluationSOiutions




OPM.gov



OPM
•
                U.S.Oflia,of
                Ptn0nnelManagunent




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       Exhibit JJ
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F111111:
To:
Sulljeetl       FW:Requestfor CompAreaException
Oaite:          Friday,Febnlary14, 20258:28:19 AH


Thecompetitiveareas"""ere
                        approved.
Adam Martinez
Chief Operating Officer

From:Peters, Noah
Sent:Thursday, February 13, 2025 10:12 PM
To: Lewin, Jere




Parman, JasonC.
Subject:RE:Requestfor Comp Area Exception

Jeremy-OPM has approved the competitive area exceptions.


From:Lewin, Jeremy
Sent:Thursday, February 13, 2025 10:10 PM




Parman,Jason C.
Subject:Re: Requestfor Comp Area Exception

+Anthony, who suggested I reach out. We owe Acting Director Vought an update at 10am
tomorrow-    do we have an ETA on an OPM response?


Thank you!
Jeremy


From: Mahoney,Michael
Date: Thursday. February 13 1 2025 at 7:17 PM
To: Martinez, Adam (CFPB)


                                                                                       I
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Subject: RE:Requestfor Comp AreaException

Thanks


From:Martinez,Adam(CFPB)
Sent: Thursday, February 13, 2025 7:1S PM
To: Mahoney, Michael




Peters, Noah~
Subject RE:Request for Comp kea Exception


Hi Mike - numbers are attached.

Adam Martinez
Chief Operating Officer

From:Mahoney, Michael J
Sent:Thursday, February 13, 2025 6:31 PM
To: Martinez, Adam (CFP




Subject: RE;Request for Comp kea Exception


Hi Adam,


Could you put numbers next to the different Cas in your request?

In other words, I'm assumingthe 1200 will be spread across the CA; can your team break that up and
assignto eachCA

Thanks,


-mike


from: Martinez,Adam(CFPB)
Sent: Thursday, February 13, 2025 5:01 PM
To: Mahoney, Michael
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Peters,Noah
Subject:Requesttor comp Area Exception

HiMichae.1-

Attached is CFPB's request for an exception to the 90-day rule for competitive areas.

Piease let me knowif you have any questions or need additional information.

Tilanky,ou.

Adam
Ad.amMartinez
ChiefOperatingOfficer
   I    ,.    .I,.   t   ial Protection Bureau
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                      Consumer Fi nancial
                      Protection B u reau


1 7 00 G Street N W , Was h i ngto n , D . C . 20552




Fe bru ary 13, 202 5



TO:                   Michael J. M a honey, Office of Person nel Ma nagement

F ROM :               Ada m Martinez, Ch ief Operating Office r/Acting Ch ief Human Ca pita l Officer
                                                                                                 Digitally signed by ADAM
S U BJ ECT:           Establishment of Competitive Areas ADAM MARTI N EZ MARTINEZ
                                                                                                 D,ite: 2025.02 . 1 3 1 9: l 2:52 ·05'00'

This m emora n d u m serves as th e Co nsu mer Financial P rotecti o n Bureau's ( C FP B ) re quest for a n
exception to t h e co m petitive a rea 90-da y ru le. Please fin d t h e C F P B responses below with
regards to our com petitive a rea s.

          1. Identification of the proposed competitive area, including the orga nizational
             segment, geogra phic location, a nd l i m its of the loca l comm uting area;

              Answer: Bel ow a re t h e d ivis ions, offices and u n its that will be i m med iately
              i m pa cted by a possible re d u ction-in-fo rce. Ad ditional com petitive a reas w i l l be
              identified in t h e next ro u n d of d ivisions, offices, a n d/or u n its i n c l u d i ng the Division
              of Ope rations, Division of Resea rch M o n itori ng a n d Regu latio ns, and D ivision of
              Cons u m e r Response .

                  •    Office of t h e D i rector - 1 06 positions
                           o Legislative Affa i rs - 4 position
                           o Office of Pol i cy and Strategy - 1 9 positions
                           o Offi ce of Civ i l Rights - 1 3 positions
                           o Office of F a i r Lending a n d E q u a l O pport u n ity _ 1 7 pos it i ons
                           o Office of t h e Directo r - 53 positions
                  •    Divisio n of Exte rnal Affa i rs - 51 positions
                           o Co m m u n i cations - 1 6 positions
                           o Exte rna l Affa i rs Division 1 6 positions
                           o I ntergovernmental Affa i rs - 7 positions
                           o Private Sector E ngage ment - 5 positions
                           o P u b l ic E ngagement - 7 pos i tions




consum e rfi na nce.gov
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                •    Division of Supervis i on . 528 positions
                         o S u pe rvi s i on Pol icy and O p e rations - 1 24 positions
                         o S u pe rvision Exa m i n ations - 6 positions
                         o Su pervision M i dwest Regi o n . 96 positions
                         o Su pervision N o rt h east Regio n - 98 positions
                         o Su p e rvision So u t heast Region - 1 1 o positions
                         o Su pervision West Region - 94 positions
                •    Division of E nfo rce ment - 283 positions
                •    Division of Research - 1 70 positions
                          o Com p etition a n d I n novatio n - 1 0 positions
                          o Con su mer Pop u lations - 54 positions
                          o M a r kets - 42 positions
                          o Resea rc h - 64 positions
                •    D ivision of O p e rations - 37 pos itions
                          o Ope rati o n s Fro nt Office - 1 o positions
                          o Ch ief Data Office r - 22 positions
                          o Ad min istrative Operations
                                  • Events Management - 5 positions


       2. A descri ption of h ow the proposed a rea diffe rs from the one previously
          esta blished for the same u n it and geogra ph ic a rea;
          Answe r: N o co m p etitive a reas we re esta b l i shed for the groups a bove. The gro u ps
          l isted a bove i n c l u d e enti re divisi o n s, offi ce s, a n d/or u n its .

       3. An orga n izational cha rt of the age n cy s howing the re lationsh i p between the
          orga nizationa l com po nents with i n the competitive a rea and other com ponents in
          the commuting a rea;
          Answer: O rga nizat i o n a l chart atta ched.

       4. The n umbe r of competing employees i n the proposed competitive area; Answer:

          Approximately 1175 positions

       5. A descri ptio n of the operation, wo rk fu nction, staff, a n d pe rsonnel ad min istration
          of the proposed a rea a nd, where appropriate, a descri ption of how the a rea is
          d isti ngu ished from others in these respects; a nd




cons u m erfi nance. gov                                                                                     2
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           Answer: Al l fu nctions a re u n i q u e to the specific division, office a nd/or u n it and
           su p po rt t h at u n it' s m i ssio n .


       6. A discussion of the circumstances that led to the proposed changes less than 90
           days before a proposed reduction .

          Answer: The C F P B is res p o n d i n g to Executive Ord e r l m plementing_The. President's
          " Department o(G ove r n m e n t Efflciency"_Workfo rce_ O p t i m izatio n_ l n itia t i ve - The
          Wh ite _H o u se dated Febru a ry 1 1, 2 02 5 a n d t h e CFPB Acti ng Di recto r' s work sto ppage
          o rde r d ated Feb ruary 10, 202 5 .




cons umerfi na nce. g ov                                                                                        3
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    Exhibit KK
             Case 1:25-cv-00381-ABJ         Document 66-1           Filed 03/07/25   Page 13 of 60




From:                           Martinez,Adam(CFPB)
Sent:                           Friday,February 14, 2025 12:38 PM
To:
Subjed:                         FW:Status


FYSA

Adam Martinez
Chief Operating Officer

From: Martinez,Adam (CFPB)
Sent: Friday,February 14, 2025 12:34 PM
To: You~. Christopher(CFPB)                                  Lewin, Jeremy                           Wick,Jordon
(CFPB)
Cc:Paoletta,Mark (CFPB)
Subject:Status

Good afternoon -

 My team and I had a productive conversation with 0PM this morning to work out any identified risks
 and answer follow-up questions regarding today's actions and notifications to staff. OPM shared that
typically during the 30-day notice, employees work during this time to transfer any duties. Mark P.
just happened to call me, and I was able to ask for clarification and expectations for the first phase of
 notifications.

We are going to place all staff on administrati,re leave for the 30-day notice period. This will provide
the flexibilityfor our new leadership team to call back staff to fulfill c1oseoutduties such as
enforcement cases. If there are pockets of staff who we later determine do not need to be called back,
we can immediately offboard them (i.e., terminate access) for the duration of the notice period.

I will provide you all notice right before the letters go out, along with the final numbers. This will all
be done this afternoon.

Adam
Adam Martinez
ChiefOperatingOfficer




                                                        1
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      Exhibit LL
               Case 1:25-cv-00381-ABJ                Document 66-1            Filed 03/07/25         Page 15 of 60




From:                                 Ma-tinez,Adam (CFPB)
Sent:                                 Friday,February14,2025 1:39 PM
To:
Cc
W>ject:                               RE:HeadsUp Re:Timing of Notices


Thanks.

Adam Martinez
Chief Operating Officer

From:
Sent: Friday,February14, 2025 1:36 PM
To: Martinez, Adam (CFPB)
Cc:--
Subject:HeadsUp Re:Timing of Notices

Hi Adam,

Wanted to make sure you were aware there is a hearing for a temporary restraining order or preliminary Injunction
related to today's activities scheduledfor 2pm today. While we will continue preparing, It's just a consideration when
deciding when to send out the notices.

httQs:Llwww.gue_tawessler.com[we_-content[u.12,loads[202SL02/1_ROMemorandum.Qdf




-
consumerfinance.gov

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  Exhibit MM
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From:
To:
 Cc
 Subject:
 Date:            Friday,February
                                14, 2025 1:44:00PM
 Attachments:     .mage001P09
                  .inage002,pog
                            IemQlatunso
                   ~ Exceotjpn
 I111pon:ance:    High


Thanks for everything you're doing, but we need the last set of attachments now. We cannot wait
until COB. We also need an answer on the attached question about the guidance. Apologies, but we
have been instructed we do not have until COB.




Confidentiality Notice: If )OU receivedthis email by mistake,you should notifytbeseoderofthe mistakeand delete
the e-mail and any attachments. An inadvertent disdosure is not intended to waive any prh,ileges.


From:
Sent:Friday, February 14, 2025 11:36 AM
                                                                  ; Parman, Jason C.




Subject:RE: Exception Template

Good morning,


The following documents have been attached.
1. MSPB Appeal Information
2. OPM Retention Regulations
3. Severance Pay Estimate Worksheet
4. Unemployment Insurance
5. CTAP, ICTAPand Reemployment Priority List (RPL}Program Information


We are working to provide an example fa the following and will as soon ascomplete.
1. Authorization for Release of Employment Information
2. Acknowledgement of Receipt
3. State Workforce Programs
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---
Vo:y Respectfully,




~
OPM
•
                     US.Officeof
                     Personnel
                            Management

Follow us on 1in~ln I~             IYou.Tube




Subject:RE: Exception Template



I   Some people wro received this messagedon-t often get email from
    •.mQQ[t:~111

10am would be great. Thank you.




~QD.S.Ym~rfinan~.e.,.gQv

Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and deete
the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


From:
Sent: Friday, February 14, 2025 8:31 AM
To:




Subject:RE:Exception Template


Good morning,

Yes,please let us know the time and we will clear our schedules and establish a team meeting.
                               -----------------------------·-----·--
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---
VeryRespectf\.Aly,




OPM
•
                 US.Officeof
                 Per~mel Management

                    I~
Followus on 1.inke.d.ln          IYQuTube


From:
Sent: Friday, February 14, 2025 8:26 AM




Subject: RE: Exception Template




I   Somepeoplewho receivedthismessagedon't often get emailfrom
    f.DllQ!tan1
                                                                                                  Learnwhy •h1<,s

Thank you, we appreciate it. We are about to meet internally but will very likely still have questions
where we'll need your expertise for the Notices deliverables. Does any of the team have availability
to meet to talk through the questions for 30 mins today?




Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


From:Parman, Jason
Sent:Friday, February 14, 2025 8:19 AM




-
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Yes, we can help with this. We wil get to work on scrubbing and packaging these and sending them to
you.

Jason


from:
Sent: Friday, February 14, 2025 6:48 AM




I   Somepeoplewt,o:eceived
                         thismessage
                                   don'toftengetemailfro~




·-
       ~>orta nt
    1r11




Do you have copies of the seven attachments referenced in the template?


1. Acknowledgement of Receipt
2. MSPBAppeal Information
3. OPM Retention Regulations
4. Severance Pay Estimate
5. Unemployment Insurance and State Workforce Programs
6. Authorization for Release of Employment Information
7. CTAP,ICTAPand Reemployment Priority List {RPL)Program Information

Although we'll be doing the severance pay estimate, a sample format would be helpful given our
timeframes to send these out.




-
Much appreciated.




~Qo~umerfinance.gov

Confidentiality Notice: If you received this email by mistake, you shou1dnotify the sender of the mistake and delete
the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


From:
Sent: Thursday, February 13, 2025 7:53 PM
To;Martinez, Adam {CFPB)                                         1111
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Subject: RE: Exception Template


Greetings,

Attached are templates of Reduction in Force notifications with and without Severance Pay. Please
be mindful that this is a to be used as a guide for developing your internal RIFnotice for issuance.
When developing your agency's RIFnotices, the team should develop standard language when
appropriate (e.g., all notices should contain the same language on the reasons for the RIF}. It is
recommended that you and your team have agency management, and the agency's legal staff,
approve the notices. Finally, the team should designate staff to review and proofread each notice for
any errors in content, format, and spelling before issuing.



Very Respectfully,




OPM                  US.Officeof
                     l'ef5omel Management

Followus on 1.inkedlnI .Iwi.tterIYQ.UTube



From:Martinez, Adam (CFPB)
Sent: Thursday, February 13, 2025 6:17 PM




Subject:RE:Exception Template

'Thankyou,-.        I'll have this over shortly. I emailed Jason separately, but who can
we get a copy of the furlough letter/template from?

Adam Martinez
Chief Operating Officer

From:-
Sent: Thursday, February 13, 2025 5:29 PM
To: Martinez, Adam (CFPB)
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Subiect:ExceptionTemplate

Good afternoon, Adam,

N. requ~ted, the template for the exception to the 60-day notification is attached.
I will send a separate email to schedule next week's meeting.


Pleaseprovide~mail              address to include in future emails.

Thankyou,



-
U.S. Officeof Per$omelManagement
HRSolutions/FederalClassificationCenter




                 I ~formerlytwil.t.e.tllX521.(Tube
Folowus on Unkedtn
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     Exhibit NN
   Case 1:25-cv-00381-ABJ                Document 66-1          Filed 03/07/25         Page 24 of 60




ff'om:
To:
Cc:
Subject;           a e         pu
Date:             Friday,Februa,y14, 20252:27:41 ~
Attadlmeitts:                          H PBAEI130QPf1.l!I~
                  L5.2LflIJlkl&s.2025·02·
                             jj~ rt §§liM'.itioQS,?1~
                  Co[)$QIKl,)ted
                      c.amo
                  CEJ'8  areaBeooes04

Hi you all. The first attachment is the list. The second list contains what I think is a consolidated list
of all the separations. Make sure the people on the second attachment aren't on the first
attachment.

Also, see the PDF.Make sure everyone in the orgs identified in the PDFare on the file.

After this is done we need to verify that the fields in the forms are correct but first validate the
population and get back to me ASAP.

If you find issues, please email me. We do not want to bother ■ right now with this stuff. He is
headsdown programming.
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    Exhibit OO
               Case 1:25-cv-00381-ABJ           Document 66-1      Filed 03/07/25   Page 26 of 60




From:                             Martinez,Adam {CFPB)
Sent:                             Friday,February14,2025 3:25 PM
To:
Subject                           FW:Requestfor Exceptionto 60 day notice
Attachments:                         exception
                                  CFPB       to 90CA ruleSIGNED
                                                              2-14-2025,pdf;CFPBexceptn to the 60 day
                                  notice period SIGNED2-14-2025.pdf

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



For the file. Thanks.
Adam Martinez
Chief Operating Officer

from: Mahoney, Michael J
Sent: Friday, February 14, 2025 3:07 PM
To: Martinez, Adam (CFPB)
Cc:Young,Christopher (CFPB)
                                  Parman, Jason C.
Subject: RE: Request for Exception to 60 day notice

Aaam,

Attached are the signed letters

-mike


From:Martinez,Adam (CfPB)
Sent: Thursday, February 13, 2025 7:48 PM
To: Peters, No
                                                                                                    Wick, Jordon



Subject: RE: Request for Exception to 60 day notice

Thank you, Noah.

Adam Martinez
Chief Operating Officer

From:Peters,Noa
Sent: Thursday,February             •
To: Martinez A am                                      Internet, WPI Employ
                                                               Lewin, Jeremy



Subject: RE:Requestfor Exceptionto 60 day notice
             Case 1:25-cv-00381-ABJ            Document 66-1   Filed 03/07/25   Page 27 of 60


Approved.

Best,

Noah Peters
Senior Advisor to the Director
U.S. Officeof PersonnelManagement
1900 E Street, N.W. Washin ton, D.C. 20415




From:Martinez, Adam (CFPB)
Sent:Thursday,February13, 2025 7:30 PM
To: Internet, WPI Employ
Cc: Young,Christopher(CFPS)                                                                     Wick,Jordon
(CFPB)
                                 Noa
Subiect:Requestfor Exceptionto 60 day notice

Good evening.

Attached is a request for the 60-day notice exception for RlF notification.

Please let me know if you have any questions or need additional information. Thank you.

Adam

Adam Martinez
Chief Operating Officer




                                                       2
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                 UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
                                       Washington,
                                                OC 20411


                                       f ebruary14,2025

Mr. Adam Martinez
Chief Operating Officer/ Acting Chief Human Capital Officer
Consumer Financial Protection Bureau
17000 St NW
Washington, DC 20552

Dear Mr. Martinez:

The Office of Personnel Management (OPM) approves, wilh one exception, the Consumer
Financial Protection Bureau's (CFPB) February 13, 2025, request for OPM approval of an
exception to the 60-day notice period provided given to employees selected for release through a
reduction io force (RIF). Your request indicates that a RTFis necessary due to the impact of the
Executive Order (EO) titled, "'Implementing The President's "Department of Government
Efficiency" Workforce Optimization Initiative" (February l l, 2025), and the CFPB Acting
Director's work stoppage crder dated February 10, 2025.

OPM approves your request in accordance with 5 CfR 351.801 (b). Under this provision OPM
may approve a notice period of less than 60 days when a RIF is caused by unforeseeable
circumstances. lhe minimum notice period must cover at least 30 tull days. In accordance with
the EO CFPB must act quickly to conduct a RlF of employees in the divisions. offices, and units,
mentioned in your request, with one exception:this approval does not include the 'Office of the
Director/Office of Civil Rights - 13 positions' indicated in your request. In a In a February l4,
2025, meeting with OPM staff Cf'PB clarified this competitive area should be removed from the
request. The urgency with which CFPB must comply with the EO makes the standard 60-day
notice period impracticable. OPM is approving a notice period of 30-days f<r employees in the
entities in your request except the Office of the Director/Office of Civil Rights.

Please contact              hy email at                         or phone at               should
youor staff have any questions with this respons~.

                                            Sincerely,



                                              Yu,,~~
                                             Veronica E. Hinton
                                             Associate Director
                                             Workforce Policy and Innovation
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      Exhibit PP
             Case 1:25-cv-00381-ABJ         Document 66-1       Filed 03/07/25     Page 30 of 60




From:                          Martinez, Adam (Cf PB)
Sent                           Friday,February14, 202S4:57 PM
To:
Cc:
Subject:


Yes. I'm dual ha:.ttedright now with Ops and OHC. 1 ""illbe on the R1Flist but in the next group.
Adam Martinez
ChiefOperatingOfficer

From:111111111111111
Sent:~56PM
To: Martinez, Adam (CFPB)
                                                                                               ;-



HiAdam,

Youshow up on the RIFreport becauseyou arein the Director'sFront Office.Areyou the only exception?




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                                                       1
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    Exhibit QQ
              Case 1:25-cv-00381-ABJ           Document 66-1             Filed 03/07/25      Page 32 of 60




 From:
 Sent
 To:



 Cc:
 Subject:                         coding for separation actions


 Hi you all. Here's the proposed coding for the separation actions. Canyou please review and approve for me?

I used auth ZLM for all three since Adam said he wanted agency cites. I could be wrong but I thought we used ZLM when
we did Agency cites. PARremark code M499 just means the remarks are custom. The action & action reason may not be
perfect for the situation but this information doesn't go anyway. It stays in HRCand is mostly used for reporting
purposes.

~ Can you all use the action reason to determine which actions need to be changed to a NOA 330 and
which need to be changed to a NOA 285? The RIFswill be loaded via MPI. For Tuesday,you will only have the NOA 330
and 385.

         we will need to key these over the weekend so they are there Tuesday morning.
 Type of            NOA Auth            Par Remark     PARRemark Content      Effect Dt         Action 1     Action
 Separation                 Code        Nbr                                                                  Reason1
 Term               330     ZLM         M499          EOentitled              2/13/2025         TER          Staff
 Appointments                                         "Implementing the                                      Reduction
                                                      President's "Dept of
                                                      Govt Efficiency"
                                                      Workforce
                                                      Optimization
                                                      Initiative" dtd
                                                      2/11/2025 and the
                                                      stop work email from
                                                      RussVought entitled
                                                      "Additional Directives
                                                      on Bureau Activities"
                                                      dtd 2/10/2025.
                                                       LUMP-SUM
                                                       PAYMENT TO BE
                                                       MADE FOR ANY
                                                       UNUSED
                                                       ANNUAL LEAVE
 Probation          385     ZLM        M499            EOentitled                2/11/2205      TER2         opp2
                                                       "Implementing the
                                                       President's "Dept of
                                                       Govt Efficiency"
                                                       Workforce
                                                       Optimization
                                                       Initiative" dtd
                                                       2/11/2025 and the

                                                          1
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                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                        LUMP-SUM
                                                        PAYMENT TO BE
                                                        MADE FOR ANY
                                                        UNUSED
                                                        ANNUAL LEAVE
    RIF              356    ZLM         M44             EOentitled               TBD           TER1         Staff
                                                        "Implementing the                                   Reduction
                                                        President's "Dept of
                                                        Govt Efficiency"
                                                        Workforce
                                                        0 ptim izatio n
                                                        Initiative" dtd
                                                        2/11/2025 and the
                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                        LUMP-SUM
                                                        PAYMENT TO BE
                                                        MADE FOR ANY
                                                        UNUSED
                                                        ANNUAL LEA VE

1
  This information is only in HRConnect. It doesn't display on the SF-SO,go to NFCor go to OPM. The field is used mostly
for reporting.
2 Ter = Termination; OPP= Probation/Trial Period




                                                            2
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     Exhibit RR
           Case 1:25-cv-00381-ABJ        Document 66-1      Filed 03/07/25     Page 35 of 60


  From:
Subject: Return to research next steps
   Date: February 28, 2025 at 12:03 PM
     To:




       Hello all,

       ORFO just met to discuss next steps regarding yesterday’s new guidance that we should
       resume non-public statutory research work.

       Our first step is trying to figure what we can and can’t do in terms of systems access and
       data access. I have not been able to access certain systems, and I don’t believe we have
       an accurate list of what data contracts remain and how it may limit statutory research.

       So could you all please log on and send me the answers to the following questions:

           1. Can you access all of the technical systems, including the Research Environment,
              in the ways you normally used to do to fulfill research activities.
           2. Can you access all of the data that you used to in order to fulfill research activities.
           3. For those of you who are CORs/ACORs, can you report back what data contracts
              have been cancelled.
           4. What conferences have you been accepted to that you are waiting for guidance on
              whether you can attend? ORFO knows about Boulder, and the Round Robin.

       Additionally, we will be seeking guidance on how to properly code timesheets.

       All Best,


       -
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       Exhibit SS
              Case 1:25-cv-00381-ABJ               Document 66-1           Filed 03/07/25        Page 37 of 60




From:Olstad, Per (CFPB)----
Sent:Wednesday, March~
To:_DL_CFPB_RMR_CP _All
Subject: Fw: Confirming requ



Hi all - see below re: usually required compliance trainings and deadlines ...



Thanks,
Per




From:Sacco, Matthew (CFPB)
Sent:Tuesday, March 4, 2025
To: Olstad, Per (CFPB).
Cc: Sacco, Matthew (C                                            FPB_Leam
Subject: RE: Confirming requirements re: ma                     g



Per-

        Hello, I hope that you are well. Thank you for your timely question. I'll also apologize on our collective behalf
about any system-generated reminder emails that went out to many today ( and a few weeks ago). That was not intended,
andwe are acting on that piece as well.



      We have extended the former March 17 due date, and have an updated News Article posted on Beam
Announcements - FY25 Mandatory Training deadline extended until further notice



         Our current Mandatory Compliance Training (MCT) is now extended. The deadline has been postponed until
further notice, and applies to all assigned courses in both the Know8e4 system, and the Cf PB Leaming Management
System.



       Unless otherwise advised by Cf PB Leadership, completing these courses is not authorized work during current
paused work status.



        If status and direction on this change, we'll provide more and updated communications, however until then
working on these MCT courses is not authorized work.



          I hope that this helps. If you have any further questions on this, please feel free to contact me directly at
                              or the team via
             Case 1:25-cv-00381-ABJ              Document 66-1           Filed 03/07/25        Page 38 of 60

Take care,

Matt

Matt Sacco

Talent Development Manager

Office of Human Capital

Consumer Financial Protection Bureau

Tel:

Mob:



www.consumerfinance.gov




From:Olstad, Per {CFPB)IIIIIIIIIIIIIII
Sent Tuesday, March 4, ~
To: CFPB Leamlllllllllllllll
Subject:Confirm~             atory training
Importance: High



Hi - On Feb 21, re: mandatory trainings, there was a directive (on Beam) to "not take these training courses" and that the
March 17 deadline would be extended. Can you advise whether staff should resume taking the trainings and if there is a
new deadline?



Thank you,
Per



Per Olstad

Acting Deputy Assistant Director & Senior Advisor

Office of Consumer Populations

Division of Research, Monitoring, and Regulations

Consumer Financial Protection Bureau




-
www.consumerfinance.gov




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      Exhibit TT
3/7/25, 12:14 AM   Case 1:25-cv-00381-ABJ                  Document     66-1requirements
                                                            Mandatory training   Filed 03/07/25
                                                                                         remain suspendedPage 40 of 60




                                                 Please ignore any reminders.




        As previously announced, CFPB staff are not authorized to undertake annual
        mandatory training at this time. Please ignore any reminders generated
        automatically by the training platforms. We have communicated any exceptions
        directly to individuals who do have requirements.

        The CFPB will revisit mandatory training later in the fiscal year. Please direct
        questions to                        .




       Page Properties

        Owning Team
            Human Capital

        Topic
            Training




https://bcfp365.sharepoint.com/sites/beam/SitePages/Annual-training-requirements-remain-suspended.aspx                   1/2
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     Exhibit UU
   Case 1:25-cv-00381-ABJ          Document 66-1        Filed 03/07/25   Page 42 of 60




From: Huggins, Cassandra (CFPB)
Sent: Wednesday, March 5, 2025 10:01 AM
To: _DL_CFPB_Examiners Midwest
_DL_CFPB_NE_Region_Directory                                          ;
_DL_CFPB_Supervision Policy                           ; _DL_CFPB_Examiners
SE                                     ; _DL_CFPB_Examiners West

Cc: Hagins, Calvin (CFPB)
Subject: optional template and instructions for submitting reports on exam activity (report
due COB 3/10)

Regions/OSP-

As you are likely aware, CLO Mark Paoletta has requested each member of Supervision
to provide him with information on the exams they are currently working on. You are
authorized to work on this assignment.

Attached is a template that you may use to put together your response- it includes places
to fill in all of the information that he requested. I’ve included rationale for why an event
was scheduled, in case you aren’t sure what to put in response to that request. You can
copy/paste to represent as many open events of each type that you need, and may
delete any event types that you are not currently assigned to work on.

As a reminder, this report is due COB Monday March 10. You may submit your report
directly to Mark Paoletta, with a cc to your manager. If your manager has left the Bureau
and you haven’t been assigned a new manager, please cc the next supervisor up in the
management chain.

If you are a manager who oversees others who work on exams, you may respond to the
request with all open supervisory events that you are overseeing.

If you are in any other role that does not actively work on individual exams (for example,
regional analyst), please hold on submitting anything until I receive clarification from
leadership on their expectations for staff in those roles.

Thanks for your assistance with this request.

Cassandra Huggins
Principal Deputy Assistant Director | Supervision Policy & Operations



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    optional
 template.docx
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     Exhibit VV
    Case 1:25-cv-00381-ABJ            Document 66-1          Filed 03/07/25       Page 45 of 60




From: Huggins, Cassandra (CFPB)
Sent: Wednesday, March 5, 2025 5:11:00 PM
To:
Subject: Re: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)

-        the only item you raise that you need to be concerned with for the purposes of your
repo1i 1s the repo1iing of approximate time spent on the exam. I would recommend you put
your best guess as to the amount of time you spent working on each exam until the work
stoppage in 2/10. I am not asking what they plan to do with the info1mation.

From:
Sent: Wednesday, March 5, 2025 5:05:26 PM
To: Huggins, Cassandra (CFPB)                                 >
Subject: FW: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)

Casey,


Please see below, particularly my 3:11pm message to Chris. There are a lot of unknows here, and I'd
like to know if anyone has asked Mark (or others) for clarification. I am particularly concerned with
the time allocated calculations and questions pertaining to how all of these submissions will be used.


Thanks,




-
From:
Sent: Wednesday, March 5, 2025 3:24 PM
To: Young, Christopher (CFPB)




Subject: RE:optional template and instructions for submitting reports on exam activity (report due
COB 3/10)


Chris,


Thank you so much for sharing this information. It is helpful to know that Casey is preparing a report.
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However, that information alone is not specific enough to address my questions. As such, they still
stand.

Thanks,



-
From: Young, Christopher (CFPB)
Sent: Wednesday, March 5, 2025 3:18 PM
To:



Subject: RE: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)


Clarification—Casey is preparing a report addressing much of the information requested.

Our job is to prepare reports including a written summary of the specific matters they are
working on, with the name of the entity being examined, how the matter was commenced
and approximately how many hours they have spent on the matter.  



Christopher J Young
Deputy Assistant Director, Supervision Division


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From: Young, Christopher (CFPB)
Sent: Wednesday, March 5, 2025 3:16 PM
To:



Subject: RE: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)



-
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Casey is preparing a report asking for much of this information. We are focused on preparing a
report that addresses the following request --

“Additionally, please notify every employee in your division to provide to me a written
summary of the specific matters they are working on, with the name of the entity being
examined, how the matter was commenced and approximately how many hours they
have spent on the matter.  

Please submit your report and direct every employee in your division to submit their response
to me by COB Monday, March 10th.”



Christopher J Young
Deputy Assistant Director, Supervision Division


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From:
Sent: Wednesday, March 5, 2025 3:11 PM
To: Young, Christopher (CFPB)




Subject: RE: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)

Chris,

Thank you so much for this clarification. Ahead of our team meeting this afternoon, I have a few
questions:

    1. Mark’s request to capture time spent – In our conversation earlier, you requested exam start
       dates or similar information to use as part of a determination of how much time team
       members spent on each exam. I want you to know that I’m looking to you for the most
       appropriate language to capture this information. I also have concerns:
          a. What is Supervision doing to ensure the time spent calculations are based on the same
             methodology? For example because, unlike a law firm, we don’t report our time as
             “billable hours” every 15 minutes by case. As a result of how we DO report our time,
             different teams could come up with vastly different totals if they’re using different
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               methods to calculate this information.
           b. Do we know how they’re planning to use this information? If not, has anyone inquired?
    2. Mark’s request for lead examiner and lead attorney - Mark’s email also requested the
       following: “name of the lead CFPB examiner on each matter, and the contact information for
       the lead attorney for the company under examination.” This is not captured in Casey’s
       template. It evidences a lack of understanding of our work and a lack of familiarity with our
       structure.
           a. Has anyone requested clarification on which role(s) are appropriate to list for the
               “name of the lead CFPB examiner?” Would this be the FM, EIC, RD, OSP POC(s) [for our
               team, analyst AND attorney], and/or Deputy Assistant Director?
           b. Has anyone requested whether the “contact information for the lead attorney for the
               company under examination” is requesting the entity’s contact information (e.g., CCO’s
               name and number) or is it instead a request for our internal/lead CFPB attorney’s
               contact information?
            c. Do we know how they’re planning to use this information? If not, has anyone inquired?
    3. Other items
           a. High-level information about exam scope seems useful here. I’d like to include it. We
               can discuss more in our meeting.
           b. I have follow-up questions regarding the individual responses. We can also discuss
               more in our meeting.

Thanks,



-
From: Young, Christopher (CFPB)
Sent: Wednesday, March 5, 2025 1:50 PM
To:
Subject: RE: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)


Thanks
          -   . And to confirm, I’ll be preparing a report as manager of the Cross-Program
Team and the Compliance Technology Supervision Program, and each individual team
member will also prepare their own reports for submission.

Christopher J Young
Deputy Assistant Director, Supervision Division


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From:
Sent: Wednesday, March 5, 2025 1:34 PM
To: Young, Christopher (CFPB)
Subject: RE: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)

Chris,

Thank you for reaching out this morning. I’m very happy to assist with fulfilling leadership’s recent
request.

Per our discussion:
    • We will prepare the report requested in the 3/4/2025 and 3/5/2025 messages from Mark
      Paoletta and Casey Huggins as it pertains to our team.
    • Include the future planned exams and follow-up events (planned via prioritization process),
      active exams                              consultation activities
    • Include the start date.
    • I’ll produce an initial list before our next meeting this afternoon.
    • Use Word format
Best,



-
From: Young, Christopher (CFPB)
Sent: Wednesday, March 5, 2025 11:26 AM
To:
Subject: Re: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)



-        — I will ring you on Teams at 11:45 if that works.

Christopher J Young
Deputy Assistant Director for Supervision Policy


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From:
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Sent: Wednesday, March 5, 2025 11:22:57 AM
To: Young, Christopher (CFPB)
Subject: RE: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)

One more heads up on this – I have some existing reports in SES that may streamline the process for
collecting this information. They are not perfectly aligned to this ask, but they should help.


From:
Sent: Wednesday, March 5, 2025 11:07 AM
To: Young, Christopher (CFPB)
Subject: Fw: optional template and instructions for submitting reports on exam activity (report due
COB 3/10)


I’m awaiting your direction based on Casey’s latest email.

From: Huggins, Cassandra (CFPB)
Sent: Wednesday, March 5, 2025 11:00:54 AM
To: _DL_CFPB_Examiners Midwest
_DL_CFPB_NE_Region_Directory <                                                 ;
_DL_CFPB_Supervision Policy <                                ; _DL_CFPB_Examiners SE
<                                   >; _DL_CFPB_Examiners West
<                                      >
Cc: Hagins, Calvin (CFPB) <
Subject: optional template and instructions for submitting reports on exam activity (report due COB
3/10)

Regions/OSP-

As you are likely aware, CLO Mark Paoletta has requested each member of Supervision to provide
him with information on the exams they are currently working on. You are authorized to work on
this assignment.

Attached is a template that you may use to put together your response- it includes places to fill in all
of the information that he requested. I’ve included rationale for why an event was scheduled, in case
you aren’t sure what to put in response to that request. You can copy/paste to represent as many
open events of each type that you need, and may delete any event types that you are not currently
assigned to work on.

As a reminder, this report is due COB Monday March 10. You may submit your report directly to
Mark Paoletta, with a cc to your manager. If your manager has left the Bureau and you haven’t been
assigned a new manager, please cc the next supervisor up in the management chain.

If you are a manager who oversees others who work on exams, you may respond to the request with
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all open supervisory events that you are overseeing.

If you are in any other role that does not actively work on individual exams (for example, regional
 analyst), please hold on submitting anything until I receive clarification from leadership on their
expectations for staff in those roles.

Thanks for your assistance with this request.

Cassandra Huggins
Principal Deputy Assistant Director | Supervision Policy & Operations



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  Exhibit WW
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From:
Sent: Thursday, March 6, 2025 1:08 PM
To:
Cc:




Subject: Recap of 3.6.25 call on Report for Exam actives due 3.10.25

Hi
     -       ,

Just wanted to do a brief recap of what we talked about on our team call from earlier:

     1. After we are done with providing the information for the report Casey requested yesterday
        we are to go back on Administrative Leave. If there is a conflict, while we are completing the
        report, that we would normally use leave for, we should check with Work Life to find the
        appropriate leave category to use at this time.
     2. We had some discussion regarding the CSI, when sending the report to Mark P. and the report
        should not be sent as an attachment but the report we had prepared in word should be
        copied and pasted into the body of the email.
     3. Lastly, during the call managers received an email about the status of open events,
        monitoring and planned events, and you would be reaching out to us individually to get a
        status on those open events.

Again just wanted to make sure I had the info correct.




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From: McNitt, Bryce (CFPB)
Sent: Thursday, March 6, 2025 6:17 PM




Subject: Status of Office of Markets Contracts


Good Afternoon,


~ Markets Procurement Status - Justifications.docx

Linked above is the last known status of all Office of Markets contracts.


I have also copied the list into the body of the email below. Some notes:


   •    All contracts except for one have had "Termination For Convenience" (T4C) notifications sent. This
        means the CFPB intends to cancel the contract, but for most contracts the formal modification
        cancelling the contract has not been signed.
           a Staff are not to log into or utilize the resources of any contract where a T4C has been
              issued (all contracts but Inside Mortgage Finance).
   •    Inside Mortgage Finance is the only contract that was not cancelled.
   •    Bloomberg Terminal has been formally cancelled and a refund is being issued.
   •    A few contracts were cancelled in Q1 FY25, and a couple were new contracts that will not be
        competed.
   •    Contracts that are either already fully cancelled or that were new and won't be competed are in gray in
        the attached sheet, we will not be pursuing those.


For those contracts that where cancellation has been initiated but not formalized, we are beginning a process
of making a request to restore those contracts we believe to be necessary to carry out our statutorily required
market monitoring work. We are going to start with simple bullets and iterate the list within RMR.


In the attached document, if you believe that the data source is essential to maintain our market monitoring
activities, please place some bulleted justification(s) in the appropriate box below the status.
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We will try to get a preliminary list to Jan & Dan on Monday and iterate from there.

Please let me know if you have any questions.

Bryce


Status Office of Markets Procurements as of 3/6/2025

 Contract Name                Status
 AITE                         Cancellation initiated 2/11. Formal cancellation paused until further notice.

 AURIEMMA                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
 (Cardbeat)
 Auto ABS Data                Cancelled Q1 FY 25.

 CARD MAIL MONITOR            Cancellation initiated 2/11. Formal cancellation paused until further notice.
 REPORTS
 (Competiscan)
 EXPERIAN                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
 VELOCITY/AUTOCOUNT

 CRA Auto-focused data        Unlikely to be competed. (New Contract)
 purchase

 MERCATOR                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
 GROUP/Javelin/Escalent

 MORTGAGE DATA PRICE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
 INDICES (HPI) (Black
 Knight)
 Mortgage Data - GUI          Cancelled Q1 FY 25.

 INSIDE MORTGAGE              Active
 FINANCE

 MOBILE INTELLIGENCE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
 DATA

 Personal Loan Data           Cancellation initiated 2/11. Formal cancellation paused until further notice.

 Bloomberg Terminal           Formally cancelled, refund being issued.

 Elliptic (crypto)            Unlikely to be competed. (New Contract)
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     Exhibit YY
    Case 1:25-cv-00381-ABJ            Document 66-1         Filed 03/07/25      Page 58 of 60




From:
Sent: Friday, March 7, 2025 10:24 AM
To: Timmons, Debra (CFPB)                              >
Subject: Following up from yesterday's discussion on work tasks

Hello,
Summarizing what we talked about yesterday as far as work tasks:

    • While our team had planned to release the dataset that is important for the statutorily
      required Card Act Analysis on the week of February 10th into Databricks Production, we will
      not be able to do so at this time. The contractors involved in the development of the
      datasets, the data validation of the dataset, and the federal employee who promoted the
      dataset to production were all terminated during the work stoppage in the middle of finalizing
      documentation.
          0  Status: We have granted access to the testing dataset (in staging) to the new Card Act
             team but they cannot use this dataset for finalized analysis.
    • Also as discussed, we should not move forward with developing new platform features or
      data products (as we had been) because we need to spend time figuring out how we will
      support our statutorily required functions with dramatically less staff/contractors/fewer
      systems. You will let me know if I am required to perform this taking stock task for Databricks.

I appreciate your leadership and support.
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      Exhibit ZZ
                             Case 1:25-cv-00381-ABJ                          Document 66-1                    Filed 03/07/25                    Page 60 of 60




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~I everyone,

I was gotngthrough complalnts today and found that every attachment was inaccessible -the site gave a error that just said 'Service Error (500}'. I've flagged for Matt Pfaft, but wanted to
confirm with any of you that you are having the same issue?


Some of the companies thatwe look at complaints about regularly attach a pdf as its fuU response so tt makes it impossible to review complete lnformailon about con,piaints from those
companies.
